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  1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                             EASTERN DIVISION

  3   ZHU ZHAI HOLDINGS LIMITED and            )
      PETER PUI TAK LEE,                       )
  4                                            )
                            Plaintiffs,        )   Case No. 20 CV 4985
  5                                            )
      -vs-                                     )   Chicago, Illinois
  6                                            )   April 20, 2021
      STEVEN IVANKOVICH,                       )   9:29 a.m.
  7                                            )
                            Defendant.         )
  8
                          TRANSCRIPT OF PROCEEDINGS
  9          BEFORE THE HONORABLE SUSAN E. COX, Magistrate Judge

 10   TELEPHONIC APPEARANCES:

 11   For the Plaintiffs:         QUINN EMANUEL URQUHART & SULLIVAN LLP
                                  BY: MR. ROBERT JOYNT
 12                                    MR. TYLER WHITMER
                                  865 South Figueroa Street
 13                               10th Floor
                                  Los Angeles, CA 90017
 14

 15   For the Defendant:          KOPECKY SCHUMACHER ROSENBURG PC
                                  BY: MR. DARYL M. SCHUMACHER
 16                               120 North LaSalle Street
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 17                               Chicago, IL 60602

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 20

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 22   Court Reporter:             AMY M. SPEE, CSR, RPR, CRR
                                  Federal Official Court Reporter
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  1         (Proceedings heard via telephone:)

  2               THE CLERK:     Case No. 20 CV 4985, Zhu Zhai versus

  3   Ivankovich.

  4               THE COURT:     Good morning.      If you could state your

  5   appearances, starting with the plaintiff, please.

  6               MR. JOYNT:     Good morning, Your Honor.

  7               This is Robert Joynt, J-o-y-n-t, from Quinn Emanuel

  8   for the plaintiffs.

  9               THE COURT:     Good morning.

 10               MR. WHITMER:     And good morning, Your Honor.

 11               This is Tyler Whitmer, also from Quinn Emanuel, for

 12   the plaintiffs.

 13               THE COURT:     Good morning.

 14               MR. SCHUMACHER:      Good morning, Your Honor.

 15               Daryl Schumacher on behalf of defendant.

 16               THE COURT:     Good morning to you as well.

 17               So we have everyone, correct?

 18               MR. JOYNT:     That's correct.

 19               THE COURT:     All right.     So, first of all, let me just

 20   say that I appreciate that you have narrowed your conflict

 21   down to this single issue and that discovery is -- it seems

 22   like it's now on track.

 23               My question about the personal financials -- I mean,

 24   as I understand it, the dispute is essentially the defendant

 25   has produced this personal financial statement in response to
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  1   the request to produce No. 20, and the plaintiff wants

  2   basically the backup, the source documents.

  3               Is that essentially what you're fighting about right

  4   now?

  5               MR. SCHUMACHER:      Yes, Your Honor.

  6               THE COURT:     Okay.

  7               THE COURT REPORTER:       I'm sorry, who was that?

  8               THE COURT:     I'm sorry?     I thought I heard something.

  9               THE COURT REPORTER:       This is the court reporter.        I

 10   didn't get who that was that spoke.

 11               THE COURT:     Oh, please tell me -- yeah, tell me who

 12   you are, yeah.

 13               MR. SCHUMACHER:      That was Daryl Schumacher.

 14               THE COURT:     Okay.    Why isn't the personal financial

 15   statement verified?        Why isn't a sworn financial statement?

 16               MR. SCHUMACHER:      Your Honor, this was a financial

 17   statement that Mr. Ivankovich has submitted in prior

 18   commercial transactions, but --

 19               THE COURT:     Uh-huh.

 20               MR. SCHUMACHER:      -- it was not required to be

 21   verified at that point.         There's nothing in the documents

 22   that -- you know, he obviously has this obligation to provide

 23   a financial statement.         It didn't require it to be verified or

 24   audited, and that's why it's not.

 25               THE COURT:     Mm-hmm.    And -- and who was just
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                                                                                        4

  1   speaking, just so we're clear.

  2               MR. SCHUMACHER:      That was Daryl Schumacher -- I

  3   apologize -- on behalf of defendant.

  4               THE COURT:     Okay.    And you -- but you -- but you

  5   produced this in response to a request to produce specifically

  6   about the defendant's finances, right?

  7               MR. SCHUMACHER:      We did, Your Honor.        And I would

  8   also point out that this wasn't something that had been

  9   produced prior to this loan that they could've relied on.

 10               THE COURT:     Mm-hmm.

 11               MR. SCHUMACHER:      This is something that we're

 12   producing after the fact in the context of discovery.                    And --

 13               THE COURT:     Well -- go ahead.       I'm sorry.

 14               MR. SCHUMACHER:      The plaintiff is entitled to it

 15   under the loan documents as well.

 16               THE COURT:     Could I hear from the plaintiff, please.

 17               MR. JOYNT:     Yes, Your Honor.

 18               On the last point, the -- about the plaintiffs being

 19   entitled under the loan documents, it's true they are entitled

 20   under the loan documents to a financial statement, but we also

 21   did make a specific discovery request for --

 22               THE COURT:     Mm-hmm.

 23               MR. JOYNT:     -- financial doc- -- or documents

 24   concerning the defendant's financial situation.

 25               THE COURT:     Mm-hmm.    Mm-hmm.     Okay.    And in response
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  1   to that, you got this financial statement unverified?

  2               MR. JOYNT:     That is correct, Your Honor.

  3               THE COURT:     All right.     And what you want now, it

  4   seems to me, is to, like, check the math of the source

  5   documents to further your allegations, correct?

  6               MR. JOYNT:     That's correct, Your Honor.

  7               THE COURT:     All right.     So it seems to me one way to

  8   solve this problem is to require the defendant to verify the

  9   information in the financial statement, to sign it -- not

 10   just, you know, sign your name, but sign it -- attest to it

 11   because -- because maybe that makes it more meaningful as a --

 12   as a statement of the defendant.

 13               I mean, an unverified financial statement in response

 14   to an interrogatory asking about financial information is

 15   essentially worthless.         I mean, it just -- you know, it

 16   doesn't bind the defendant to any particular position.                   It's

 17   just -- you know, it's basically what's on the paper.

 18               On the other hand, if the defendants have to swear to

 19   the information in the financial statement, they're -- the

 20   defendant is going to be careful to make sure that financial

 21   statement is true, and that obviates the need for backups.

 22               You know, and it seems to me that the plaintiff has

 23   already raised problems with the veracity of that statement,

 24   at least in the position paper that you filed.

 25               So I think that might be the best way to do this.
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  1   Instead of requiring the defendant to basically produce every

  2   single document that's referred to or alluded to in the

  3   financial statement, just make the financial statement be

  4   verified under oath so that it's accurate.

  5               MR. SCHUMACHER:      Judge, Daryl Schumacher on behalf of

  6   defendant.

  7               If I could raise one issue.

  8               THE COURT:     Mm-hmm.

  9               MR. SCHUMACHER:      Plaintiffs have criticized the

 10   personal financial statement for not disclosing pending

 11   litigation.      There was --

 12               THE COURT:     Mm-hmm.

 13               MR. SCHUMACHER:      -- no framework -- there was no

 14   framework or requirements for this personal financial

 15   statement.     And, again, it is a statement that was used in a

 16   commercial transaction.

 17               I don't know that it's fair to point out . . .

 18               THE COURT:     Go ahead.

 19               MR. SCHUMACHER:      I don't know if it's fair to point

 20   out that, you know, litigation wasn't identified in the

 21   personal financial statement when, you know, there were no

 22   parameters for this personal financial statement.                This was a

 23   document getting used in commerce.

 24               THE COURT:     Mm-hmm.

 25               MR. SCHUMACHER:      You know --
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  1               THE COURT:     Yes, but you chose to produce it in

  2   response to a specific request for production in this case.

  3               I understand what its use was generally for the

  4   defendant, but this was produced by your client to respond

  5   specifically to a request to produce.             And so instead of

  6   doing, you know, one kind of production, you said here's my

  7   financial statement, take a look, see where I am.                The problem

  8   with that is, it's really not a response at all because it's

  9   not under verification.         It's meaningless.

 10               You know, I mean, you -- you know, the parties can

 11   quibble about what should, you know -- or, frankly, negotiate

 12   what should be on that statement, but -- and whether

 13   litigation is truly something that should be disclosed on a

 14   personal financial statement and what its potential impact is

 15   on a party.

 16               I'm just -- I'm not going to weigh into it today, but

 17   I can tell you that since you chose to produce it as a

 18   document in discovery, it should be verified; otherwise,

 19   it's -- it's -- it's really as if you haven't produced

 20   anything at all, frankly, in my mind.

 21               But the idea that we should just open up every single

 22   document that might back up that -- that -- that statement

 23   seems to be kind of overly broad at this point.               Why not just

 24   have your client verify it?

 25               MR. SCHUMACHER:      I can do that, Your Honor.          We --
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  1               THE COURT:     Yeah.

  2               MR. SCHUMACHER:      We followed your directives and

  3   guidance on all of the other requests.

  4               THE COURT:     You did, yes.

  5               MR. SCHUMACHER:      And if that's Your Honor's ruling,

  6   we will obviously honor it.

  7               THE COURT:     Well, I'd rather do that than order you

  8   to produce all these source documents.             It seems to me that,

  9   you know, your client ought to be willing to stand by what he

 10   said.    It doesn't seem to me to be much of a burden.

 11               MR. SCHUMACHER:      Understood.

 12               THE COURT:     Yeah.    So that's -- that's how I'm going

 13   to -- that's how I'm going to resolve this issue.                The

 14   defendant will be ordered to resubmit this statement in

 15   response to request for production No. 20, but the statement

 16   will be under oath so that he can be cross-examined about it

 17   when the time comes.        And that, I think -- that will make it a

 18   more serious endeavor for him, I think, than simply producing

 19   something that had been used in a commercial transaction.

 20               It's, frankly -- I mean, the plaintiff is

 21   challenging, you know, the accuracy of those kinds of

 22   disclosures generally in this case, so I think that's the best

 23   way around this for now.         So that's the Court's order for

 24   today.

 25               Is there anything further we need to take up?
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  1               MR. SCHUMACHER:      Not from defendant.

  2               THE COURT:     Plaintiff?

  3               MR. JOYNT:     This is Robert Joynt.

  4               Just to clarify, Your Honor, defendant, in response

  5   to the same request for production, also offered to produce

  6   any money judgments against the defendant and any bankruptcy

  7   filings.

  8               To clarify, Your Honor's ruling just address -- in

  9   addition to the financial statement --

 10               THE COURT:     I'm just -- I'm addressing the issue that

 11   you put in front of me collectively, which is the one that I

 12   put on the record a few minutes ago, whether or not the

 13   defendant should be required to produce the source documents

 14   behind the financial statement that he produced in response to

 15   the request for production.

 16               My ruling is just that, that he does not have to do

 17   that, but he does have to verify the personal statement.

 18   Whatever commitments that he or his counsel has made in an

 19   additional response to that request for production are not

 20   before me, and I'm not making any comment on them one way or

 21   the other.

 22               MR. JOYNT:     Understood, Your Honor.         And thank you --

 23               THE COURT:     Okay?

 24               MR. JOYNT:     -- for the clarification.

 25               THE COURT:     Okay.    Thank you.     All right.     Thank you,
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  1    guys.    Have a good day.        Bye-bye.

  2          (Which were all the proceedings heard.)

  3                                 *    *   *   *   *   *

  4                              C E R T I F I C A T E

  5

  6          I certify that the foregoing is a correct transcript, to

  7    the extent possible, of the record of proceedings in the

  8    above-entitled matter, given the limitations of conducting

  9    proceedings via telephone.

 10

 11    /s/ Amy M. Spee                           4/21/2021
       __________________________                _____________
 12    AMY M. SPEE, CSR, RPR, CRR                Date
       Official Court Reporter
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